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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 Abbott Laboratories,
                 Plaintiff and Counter-
                 Defendant,
         v.
                                                       Case No. 1:19-cv-06587
 Grifols Diagnostic Solutions Inc., Grifols
 Worldwide Operations Limited and Novartis             Judge Sara L. Ellis
 Vaccines and Diagnostics, Inc.
                 Defendants and Counter-
                 Plaintiffs.


        UNOPPOSED MOTION TO SEAL ABBOTT LABORATORIES’
RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR REALIGNMENT OF
      THE PARTIES AND TO SET THE ORDER OF PROOF FOR TRIAL

       Pursuant to Local Rules 5.8, 26.2, and the Stipulated Protective Order (Dkt. No. 70),

Plaintiff Abbott Laboratories respectfully requests that the Court grant leave to file under seal

Abbott Laboratories’ Response in Opposition to Defendants’ Motion for Realignment of the

Parties and to Set the Order of Proof for Trial, Plaintiff states as follows:

               Exhibits 1-2 contain information that Plaintiff, Defendants, and/or a third party

designated as HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY pursuant to the terms

of the Stipulated Protective Order (Dkt. No. 70).

               Plaintiff seeks leave to file under seal the portions of its Response in Opposition to

Defendants’ Motion for Realignment of the Parties and to Set the Order of Proof for Trial and

exhibits thereto that refer to information one or more of Plaintiff, Defendants, or a third party

designated as HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.

               Pursuant to Local Rule 26.2, Plaintiff has filed an unredacted version of its

Response in Opposition to Defendants’ Motion for Realignment of the Parties and to Set the Order

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of Proof for Trial and exhibits thereto, with Exhibits 1-2 un-redacted under seal, and has

separately filed redacted, public versions.

               Defendants have confirmed they do not oppose this motion.

       WHEREFORE, Plaintiff respectfully moves this Court for leave to file under seal portions

of its Response in Opposition to Defendants’ Motion for Realignment of the Parties and to Set

the Order of Proof for Trial and exhibits 1-2 thereto.




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DATED: December 20, 2024              Respectfully submitted,

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                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true and correct copy of the above document has

been served on December 20, 2024, to all counsel of record via the Court’s CM/ECF filing system.



                                                   Respectfully submitted,


                                                   /s/ Michael A. Pearson, Jr.
                                                   Michael A. Pearson, Jr.
